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                                           8                                 UNITED STATES DISTRICT COURT
                                           9                              NORTHERN DISTRICT OF CALIFORNIA
                                          10                                         SAN JOSE DIVISION
For the Northern District of California




                                          11   DAVID TRINDADE, individually and on behalf )           Case No. 5:12-cv-04759 (PSG)
                                               of all others similarly situated,                 )
    United States District Court




                                          12                                                     )    JUDGMENT AGAINST REACH
                                                                         Plaintiff,              )    MEDIA GROUP, LLC
                                          13            v.                                       )
                                                                                                 )    (Re: Docket No. 85)
                                          14   REACH MEDIA GROUP, LLC, a Delaware                )
                                               limited liability company,                        )
                                          15                                                     )
                                                                         Defendant.              )
                                          16                                                     )
                                               REACH MEDIA GROUP, LLC, a Delaware                )
                                          17   limited liability company,                        )
                                                                                                 )
                                          18                             Third-Party Plaintiff,  )
                                                        v.                                       )
                                          19                                                     )
                                               RYAN LEHAHAN, individually, KYLE                  )
                                          20   DANNA, individually, and EAGLE WEB                )
                                               ASSETS INC., an Illinois corporation,             )
                                          21                                                     )
                                                                         Third-Party Defendants.
                                          22
                                                      This matter coming before the court on Plaintiff David Trindade’s Motion for Entry of
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                                          24   Default Judgment Against Defendant Reach Media Group, LLC, due and adequate notice having

                                          25   been given, and the court being duly advised in the premises,

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                                               Case No. 5:12-cv-04759 (PSG)
                                               ORDER ENTERING DEFAULT JUDGMENT AGAINST REACH MEDIA GROUP, LLC
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